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 1 PATRICK D. ROBBINS (CABN 152288)
   Acting United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3 ELIZABETH D. KURLAN (CABN 255869)
   Assistant United States Attorney
 4
          450 Golden Gate Avenue, Box 36055
 5        San Francisco, California 94102-3495
          Telephone: 415-436-7200
 6        Facsimile: 415-436-6748
          elizabeth.kurlan@usdoj.gov
 7
   Attorneys for Defendants
 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   ZHUOER CHEN, et al.,                              ) Case No. 3:25-cv-03292-SI
                                                       )
13           Plaintiffs,                               ) DECLARATION OF ANDRE WATSON
                                                       )
14      v.                                             )
                                                       )
15   KRISTI NOEM, et al.,                              )
                                                       )
16           Defendants.                               )
                                                       )
17                                                     )
                                                       )
18
19            I, Andre Watson, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:
20           1.      I am the Senior Official within the National Security Division (NSD) for Homeland
21 Security Investigations (HSI). I am a career member of the Senior Executive Service with the rank of

22 Assistant Director. Prior to becoming the Assistant Director of NSD, I served on a detail assignment to

23 the U.S. Department of Homeland Security in the capacity of Principal Deputy Assistant Secretary for

24 the Countering Weapons of Mass Destruction Office. I have additionally served as the HSI Special

25 Agent in Charge in Baltimore, MD, Deputy Special Agent in Charge in Washington, D.C., Assistant

26 Special Agent in Charge in Houston, TX, and Supervisory Special Agent in Blaine, WA. I have also

27 previously served in Headquarters assignments such as Chief of Staff to the Deputy Director of U.S.

28 Immigration and Customs Enforcement (ICE), Chief of Intelligence for the U.S. Department of Justice,

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 1 International Organized Crime and Intelligence Operations Center, and various supervisory positions

 2 within NSD.

 3          2.     As the Senior Official within NSD, I oversee the National Security Division as well as

 4 Student and Exchange Visitor Program (SEVP) functions in support of ICE efforts to identify, disrupt

 5 and dismantle transnational criminal enterprises and terrorist organizations that threaten the security of

 6 the United States. These efforts encompass all investigations and aspects of terrorism, special interests

 7 involving state and non-state actors, human rights violators and war criminals, as well as compliance

 8 and oversight functions for over 6,900 academic institutions, 45,000 designated school officials, and

 9 over 1.2 million foreign students studying in the United States.

10          3.     SEVP was created in the wake of the September 11, 2001, terrorist attacks to provide

11 integrity to the immigration system by collecting, maintaining and analyzing information so only

12 legitimate nonimmigrant students or exchange visitors can gain entry in the U.S. Through a database

13 housing information pertaining to schools and students, called the Student and Exchange Visitor

14 Information System (SEVIS), SEVP manages and tracks nonimmigrants in the F, M, and J categories.

15 To eliminate vulnerabilities related to the nonimmigrant visa program, Congress first introduced

16 statutory language mandating the development of a program to collect data and improve tracking of

17 foreign students in the Illegal Immigration Reform and Immigrant Responsibility Act of (IIRIRA) of

18 1996. In 2001, Congress expanded the foreign student tracking system when it enacted PATRIOT ACT,
19 and in 2002, Congress strengthened the tracking system yet again through the Enhanced Border Security

20 and Visa Entry Reform Act, noting concerns with national security and emphasizing the need to

21 carefully track student status and information. Accordingly, these laws and regulations demonstrate a

22 clear congressional directive that ICE closely monitor foreign students and the schools in which they

23 enroll by vigorously enforcing statutory and regulatory requirements.

24          4.     Congress provided broad statutory authority under 8 U.S.C. § 1372 for the Government

25 “to develop and conduct a program to collect” information regarding nonimmigrant students and

26 exchange visitors and to “establish an electronic means to monitor and verify” certain related

27 information. This is the statutory authority underpinning SEVIS. Inherent in that authority is SEVP’s

28 ability to update and maintain the information in SEVIS and, as such, to terminate SEVIS records, as

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 1 needed, to carry out the purposes of the program.

 2           5.     The Counter Threat Lead Development Unit (CTLD), a component of HSI’s National

 3 Security Division, is specifically responsible for analyzing information related to alien nonimmigrant

 4 visa holders, who are lawfully admitted to the United States but violate the terms of their admission,

 5 pose a threat to national security or public safety and/or are involved in criminal activity for field

 6 referral and further investigation. CTLD receives over one million alien violator records each year,

 7 primarily from U.S. Customs and Border Protection (CBP) Arrival and Departure Information System

 8 (ADIS), as well as from the Student and Exchange Visitor Information System (SEVIS).

 9           6.     I am aware of the above-captioned lawsuit and the motion for temporary restraining

10 order (TRO) filed by the Plaintiffs in this matter. I provide this declaration based on my personal

11 knowledge, reasonable inquiry, and information obtained from various records, systems, databases,

12 other Department of Homeland Security (DHS) employees, and information portals maintained and

13 relied upon by DHS in the regular course of business.

14 Zhuoer Chen

15           7.     ZHUOER CHEN is a citizen and national of China, who was last admitted to the United

16 States as an F-1 nonimmigrant visa holder. CHEN’s information was run against criminal databases and

17 was a verified match to a criminal history record for an arrest on November 27, 2022, for Corporal Injury

18 to a Spouse/Cohabitant by the Berkley Police Department. At that time, the disposition of the charge was
19 unknown.

20           8.     On April 7, 2025, CTLD received communications from the Department of State,

21 indicating that CHEN’s visa was not valid and requested termination of the SEVIS record.

22           9.     Based on CHEN’s criminal history, on April 8, 2025, SEVP amended CHEN’s SEVIS

23 record to reflect this information by setting the record designation to “terminated.”

24 Mengcheng Yu

25           10.    MENGCHENG YU is a citizen and national of China, who was last admitted to the United

26 States as an F-1 nonimmigrant visa holder. YU’s information was run against criminal databases and was

27 a verified match to a criminal history record for an ICE encounter on May 31, 2016, for Failing to Maintain

28 Status.

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 1          11.     Based on YU’s criminal history, on April 4, 2025, SEVP amended YU’s SEVIS record to

 2 reflect this information by setting the record designation to “terminated.”

 3 Jiarong Ouyang

 4          12.     JIARONG OUYANG is a citizen and national of China, who was last admitted to the

 5 United States as an F-1 nonimmigrant visa holder. OUYANG’s information was run against criminal

 6 databases and was a verified match to a criminal history record regarding an arrest on January 4, 2019, for

 7 Corporal Injury to a Spouse/Cohabitant by the Riverside County Sheriff’s Office. At that time, records

 8 show that the charge was dismissed.

 9          13.     On April 7, 2025, CTLD received communications from the Department of State,

10 indicating that OUYANG’s visa was not valid and requested termination of the SEVIS record.

11          14.     Based on OUYANG’s criminal history, on April 8, 2025, SEVP amended OUYANG’s

12 SEVIS record to reflect this information by setting the record designation to “terminated.”

13 Gexi Guo

14          15.     GEXI GUO is a citizen and national of China, who was last admitted to the United States

15 as an F-1 nonimmigrant visa holder. GUO’s information was run against criminal databases and was a

16 verified match to a criminal history record relating to an arrest on May 19, 2024, for Simple Assault by

17 the Harrison Police Department. At that time, the disposition of the charge was unknown.

18          16.     Based on GUO’s criminal history, on April 8, 2025, SEVP amended GUO’s SEVIS record

19 to reflect this information by setting the record designation to “terminated.”

20          17.     On April 16, 2025, CTLD received communications from the Department of State

21 indicating that GUO’s visa was revoked.

22          18.     Terminating a record in SEVIS does not terminate an individual’s nonimmigrant status in

23 the United States. The statute and regulations do not provide SEVP the authority to terminate

24 nonimmigrant status by terminating a SEVIS record, and SEVP has never claimed that it had terminated

25 the Plaintiffs’ nonimmigrant statuses. Furthermore, the authority to issue or revoke visas for nonimmigrant

26 students like the Plaintiffs lies with the Department of State, not SEVP. Terminating a record within

27 SEVIS does not effectuate a visa revocation.

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 1        I declare under penalty of perjury that the foregoing is true and correct.

 2        Executed this 18th day of April 2025.

 3                                                        ANDRE R Digitally signed by
                                                                  ANDRE R WATSON

                                                          WATSON 18:06:32 -04'00'
                                                                  Date: 2025.04.18

 4
                                                        ANDRE WATSON
 5                                                      Assistant Director
                                                        National Security Division
 6                                                      Homeland Security Investigations
 7                                                      U.S. Immigration and Customs Enforcement
                                                        U.S. Department of Homeland Security
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